                                                                                                      ....'J!!PRT
                                                                                                  ASHEv'ftLE: N.C.
                                            STATES DISTRICT COURT
                           WES            DISTRICT OF NORTH CAROLINA                              MAY      1 2013
                                          ASHEVILLE DIVISION
                                                                                                U.S. DISTRICT COURT
                                                                                                  W. DIST. OF N.C.
                                         DOCKETNO. 1:12CR66

                                                        )
                                                        )
                          Plaintiff,                    )
                                                        )          CONSENT ORDER AND
                 v.                                     )        JUDGMENT OF FORFEITURE
                                                        )
5) RONALD WALSH,                                        )
                                                        )
                                                        )


        WHEREAS, the '"''"''-'"'"'~' . . . .'"' RONALD WALSH, has entered into a plea agreement
(incorporated by reference                     with the United States and has voluntarily pleaded guilty
pursuant to Federal Rule of                     Procedure 11 to one or more criminal offenses under which
forfeiture may be ordered;

        WHEREAS, the .......,,,...,..~....._._ .. and the United States stipulate and agree that the property
described below constitutes                           derived from or traceable to proceeds of the defendant's
offense(s) herein; property ·                       in the offenses, or any property traceable to such property;
and/or property used in any                        to facilitate the commission of such offense(s); or substitute
property for which under 21 U .. C.§ 853(p) and Fed. R. Crim. P. 32.2(e); and is therefore subject
to forfeiture pursuant to 21 U .C. § 853 and/or 18 U.S.C. § 982, provided, however, that such
forfeiture is subject to any                all third party claims and interests, pending final adjudication
herein;

        WHEREAS, the .... . , _. . ,.....~... herein waives the requirements of Federal Rules of Criminal
Procedure 32.2 and 43(a)                      ·    notice of the forfeiture in the charging instrument,
announcement of the forfeiture sentencing, and incorporation of the forfeiture in the judgment
against defendant;

       WHEREAS, pursuant                Federal Rules of Criminal Procedure 32.2(b)(1) & (c)(2), the
Court finds that there is the          · · nexus between the property and the offense(s) to which the
defendant has pleaded guilty                that a personal money judgment in the amount of criminal
proceeds may be entered and             the defendant has a legal or possessory interest in the property;

       WHEREAS, the aeJtenaj1J1t withdraws any claim previously submitted in response to an
administrative forfeiture or    forfeiture proceeding concerning any of the property described
below. If the defendant has not         y submitted such a claim, the defendant hereby waives all


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                                     ve forfeiture or civil forfeiture proceeding concerning any of the
                                             been stayed, the defendant hereby consents to a lifting of


       WHEREAS, the           "~"'-'·'"'u United States Magistrate Judge is authorized to enter this
Order by the previous Order of         Court No. 3:05MC302-C (September 8, 2005);

                                     IS HEREBY ORDERED THAT:

        The following               is forfeited to the United States:

        A personal money JU<te:llneJlt in forfeiture in the amount of $829,951.70, jointly and
        severally with (1)          Devona and (2) John Devona, which sum represents
        proceeds obtained,          or indirectly, from the offenses pleaded to.

       The personal money                  in forfeiture shall be included in the sentence of the
defendant, and the United        Department of Justice may take steps to collect the judgment
from any property, real or periSOtlal, of the defendant, in accordance with the substitute asset
provisions of21 U.S.C. § 853

       The United States               and/or other property custodian for the investigative agency is
authorized to take possession          maintain custody of the above-described tangible property, if
any.

       Upon the seizure of   property to satisfy all or part of the judgment, if and to the extent
required by Fed. R. Crim. P. 2.2(b)(6), 21 U.S.C. § 853(n), and/or other applicable law, the
United States shall publish    and provide direct written notice of this forfeiture.

        Any person, other              the defendant, asserting any legal interest in the property may,
within thirty days of the ... "''""'"'"V'U of notice or the receipt of notice, whichever is earlier, petition
the court for a hearing to                 the validity of the alleged interest.

       Pursuant to Rule 32.      ) ofthe Federal Rules of Criminal Procedure, upon entry ofthis
Order of Forfeiture, the Uni   States Attorney's Office is authorized to conduct any discovery
needed to identify, locate or dispose of the property, including depositions, interrogatories,
requests for production of            and to issue subpoenas, pursuant to Rule 45 of the Federal
Rules of Civil Procedure.

        Following the Court's ''""'IJv"'tion of all timely petitions filed, a final order of forfeiture
shall be entered, as provided Fed. R. Crim. P. 32.2(c)(2). If no third party files a timely petition,
this order shall become the      order and judgment of forfeiture, as provided by Fed. R. Crim. P.
32.2(c)(2), and the United          shall have clear title to the property, and shall dispose of the
property according to law.             to Rule 32.2(b)(4)(A), the defendant consents that this order
shall be final as to defendant       filing.


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SO AGREED:



THOMAS M. KENT
Assistant United States




Defendant



                     ,JR.
Attorney for Defendant



        Signed this the \<;..""t-   of   ~:<s    ,2013.
                                          c:h~ J!~\_\3-~~
                                         DENNIS L. HOWELL      ""
                                         UNITED STATES MAGISTRATE JUDGE
                                         WESTERN DISTRICT OF NORTH CAROLINA




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